36 F.3d 1094
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerome LAMONT THOMAS, a/K/a Abdul Jabbar Abdullah Muhammad,Petitioner Appellant,v.Ellis B. WRIGHT, Warden, Respondent Appellee.
    No. 94-6347.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 25, 1994.Decided Sep. 27, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  David G. Lowe, Magistrate Judge.  (CA-93-358)
      Jerome Lamont Thomas, Appellant Pro Se.
      Alan Katz, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellee.
      Before RUSSELL and MICHAEL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the magistrate judge's* order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the magistrate judge's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the magistrate judge.  Thomas v. Wright, No. CA-93-358 (E.D. Va.  Mar. 23, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         Pursuant to 28 U.S.C.A. Sec. 636(c) (West 1993), the parties agreed to proceed before a magistrate judge and to file any appeal directly in this Court
      
    
    